Case 0:17-cv-60426-UU Document 94 Entered on FLSD Docket 11/22/2017 Page 1 of 4




                               UN ITED STA TES DISTRICT C OU RT
                               SOU TH ERN D IST CT O F FLO RIDA
                                CA SE N 0 .17-604 6-CIV -UN GA RO

 A LEK SEJ GU BA REV ,eta1.,
               Plaintiffts),
 V.


 BUZZFEED ,lN C .,etal.,
               Defendantts).
                                     /

                                     A M EN DE
                         O R DE R O F RE FE        L TO M EDIA TIO N

       PretrialConferencehaving been setin th'sm atterfor11:00 A.M .on AUG UST 3,2018
 2018,pursuantto Rule 16 ofthe FederalRules fCivilProcedure and LocalRule 16.2 ofthe
 LocalRulesofthe United StatesDistrictCourt rthe Southern DistrictofFlorida,itishereby

        O R DER ED AN D A DJU D G ED asfoll w s:

        1. A llpartiesare required to participate n m ediation.

         2. Plaintifps counsel,or another attorn y agreed upon by allcounselof record and any
 unrepresentedparties,shallberesponsibleforsc edulingthemediationconference.Thepartiesare
 encouraged to availthem selves ofthe services o any m ediatoron the ListofCertified M ediators,
 m aintained in the office ofthe C lerk ofthe Cou ,butm ay selectany otherm ediator. The parties    ,
 shallagreeuponamediatorwithinfifteen(15)d ysfrom thedatehereof,andshalladvisetheCourt
 asto such choice w ithin thatperiod oftim e.Ift ere is no agreem ent,lead counselshallnotify the
 Clerkinwritingwithinfifteen(15)days,andth Clerkshalldesignateamediatorfrom theListof
 Certified M ediators,which designation shallbe m ade on a blind rotation basis.The parties shall
 completethe mediation within tifteen (15)day aflerthe discovery cutoffdate setfol'th in the
 Scheduling O rderforPretrialConference and T ial.

        3. A place,date and tim e form ediation onvenientto the m ediator,counselofrecord,and
 unrepresented partiesshallbe established.The le d attorney shallcom plete the fonn orderattached
 and subm ititto the Court.

        4.The appearance ofcounseland each pa y ism andatory.lfaparty isa legalbusinessentity
 (i.e.a corporation orpartnership),a representtive orrepresentatives ofsuch entity with full
 settlementauthoritymustattend.Ifinsuranceisi volved,anadjusterwithauthorityuptothepolicy
 lim itsorthe m ostrecentdem and,w hicheverisl w er,shallattend.
Case 0:17-cv-60426-UU Document 94 Entered on FLSD Docket 11/22/2017 Page 2 of 4




        5. A lldiscussions,representationsand tatem entsm ade atthe m ediation conference shall
 beconfidentialand privileged.

        6.Atleastten(10)dayspriortothemed'ationdate,al1partiesshallpresenttothemediator
 a briefm itten sum m ary ofthe case identifying ssues to be resolved. Copies ofthese sum m aries
 shallbe served on a11otherparties.

        7. The Courtm ay im pose sanctionsagai stparties and/orcounselw ho do notcom ply w ith
 theattendance orsettlem entauthority requirem e tsherein orw ho otherw iseviolatethetennsofthe
 Order. The m ediatorshallreportnon-attendanc and m ay recom m end im position ofsanctionsby
 the Courtfornon-attendance.

        8. The m ediatorshallbe com pensated i accordance w ith the standing orderofthe Court
 enteredpursuantto LocalRule16.2(B)(7),oro such basisasmaybeagreedto inwritingbythe
 partiesand them ediatorselected by theparties. hecostofm ediation shallbe shared equally by the
 partiesunlessotherwiseorderedbytheCourt.Alpaym entsshallberem ittedtothem ediatorwithin
 thirty(30)daysofthedateofthebill.Noticeto hemediatorofcancellationofsettlementpriorto
 thescheduled mediationconferencemustbegien atleasttwo(2)fullbusinessdaysin advance.
 Failure to do so w illresultin im position ofa fee forone hour.

        9.lfa fullorpartialsettlem entisreached nthecase,counselshallprom ptlynotify the Court
 ofthesettlementinaccordancewithLocalRule1 .2(F),bythefilingofanoticeofsettlementsigned
 bycounselofrecordwithinten(10)daysofthe ediationconference.Thereafterthepartiesshall
 forthwith subm itan appropriate pleading conclu ing the case.

        10. W ithin seven (7)daysfollowing th mediation conference,the mediatorshallfilea
 M ediation Reportindicating w hetherallrequired artiesw erepresent.Thereportshallalso indicate
 whetherthecasesettled(infullorinpart),wasc ntinuedwiththeconsentoftheparties,orwhether
 themediatordeclared an impasse.

         11.Ifm ediation isnotconducted,the cas m aybestricken from thetrialcalendar,and other
 sanctions m ay be im posed.

        D ON E A N D ORD ER ED atM iam i,Flor da this              day ofN ovem ber,2017.



                                              U SU LA UN G A R O
                                              U ITED ST ATE S D ISTR IC T JUD G E
 cc:A llCounselofRecord
Case 0:17-cv-60426-UU Document 94 Entered on FLSD Docket 11/22/2017 Page 3 of 4




                            UN ITED STATES DISTRICT COURT
                            SOU TH ERN D IST CT O F FLO RIDA

                             CA SE N O .17-60 26-C1V-UN GA RO

 A LEK SEJ GU BA REV ,eta1.,

              Plaintiff,

 V.


 BU ZZFEED ,lN C.,eta1.,

              D efendant.
                                   /


                            ORD ER SCH ED LIN G M EDIA TION



       Themediation conference in thismattershallbeheld with

                                             n                                   ,2017,

 at      M .at



                                                                                Florida.

       ENTERED this            day of                   2017.



                                          U SULA U N G A RO
                                          U ITED STA TE S D ISTR ICT JU D G E

 cc:   A l1counselofrecord
'




    Case 0:17-cv-60426-UU Document 94 Entered on FLSD Docket 11/22/2017 Page 4 of 4




                                         UN ITED STATE D ISTRICT COU RT
                                         SOU THERN D 1S RICT O F FLO RIDA
                                         Case N o.


                                                                                                            Exhibit$1A ''
                              Plaintiff,
     V.
                                                                  E       IBIT A ND W ITN ESS LIST


                             Defendant.
                                             /

      PresidlngJudgc                         PlalntigmsAttornch                           Ehzfendanl'sAtlorney



      TnalDalets)




     Pl
      f.No ef.No DateOffered Oblectl
                                   ons   Marked Admit
                                                    led                      Description OfExhibitsand W itnesses




                                                                      q
